CaSe 1-18-43983-nh| DOC 1 Filed 07/11/18 Entered 07/11/18 14215222

 

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EASTERN DiSTR!CT GF NEW YORK, BROOKLYN DI‘U\SJGN

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fi§£ng

 

 

Of€scial Form 201
Voluntary Petition for Non-|ndividua|s Filing for Bankruptcy me

if more space ls needed, attach a separate sheet m this form. On the top of any additional pages. write mo debtors name and case number{ifknown]. For
mem informatlou. a separate dacumont, instructions far Bzrrrkruptcy F<,)rms for Non-!nd§vlclu:xts. ia availabie.

1. camera name 562 owington LLC

 

2. AM other names debtor
used ln the last 8 years

¥nciuda any assumed
names. trade names and
doing business as names

 

3, Dnbtor's federai Emp!-ayer
!dentHicatian Number 31“1979533

 

 

 

 

 

 

 

 

 

(E,|N)
4. Debtor’s address Prlncipa| place of business Maiung address, if different from principa| piano of
business
9322 Srd Ave
Ste 502
Brook!yn, NY 11 208-6502
Numbe¢. S€reei. Cfty. Sfaie & ZZP Code P,O‘ Box. Number. Sireet. Clly, Staie & Zlf> finds
Kings Localion of principat asaets. if different from princlpai
coumy piano of business
Number, Streee, Cily. State & Z|P Coda
5. Debtor's wehsfva (URL)
5‘ T>'F€‘ °f d¢m°' ll corporation (zncming amsted lmrab§my Company {u.c; and umw Liabis;ty Pammrswp {L:.P};»

D Parmersmp ~{axcmamg LLP;
ij Otr@er‘Specify:

 

 

Ofl?cla! Fnrm 201 Voluntary Petit|on for Ncn~lnd!v|dua!s ang for Bankruptcy page 1

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D°'i¢°' 552 Dvingtort i_LC case number r_»mmm} _
blame

7. Describa davtnr's business A. Che';fc or)e.'
tit Heazu\ care emsneas {a,s umw m 11 u.S.c;. § muzm};
" Stngie Asset Rea| Estate {as defmed in 11 U.S.C. § 101(5¥!3})
C! Ratt:oad (as defined in tt U.S.C. § 101{4‘43}
tit Sw¢wmxer gas umwa m 11 u.S.c‘ §101(53)\>)
lit commodity archer (as deem m 11 u.s.c. § 10§(5;3
|:] dearth Bank (as defined in 11 L?.S.C. § ?81£3})
l:l Nnne of the above

B, Check rr.~?that app,§'
E] Taxwmpt entity ms described tn 26 u.S.C, §501)
m investment company, |nc|uding hedge fund or pooled investment vehicle (a,s defined in §§ U¢S.C. §BDa~B}

5 tnvestmen/t advisor (ss defined m §§ U.S.C. §§0|3'2(3}(11§)

C. NA!CS (Non;h ,<tmerican tndustry Ctassi€'¢cattun Sysiem) ¢dtgs't code that best describes debtorq
535 §§;;:vaw.uscouns.gau'fcur-dtgit-nat`lovna!~assoc§at§un~nq§q§;§§§§§.

 

53131|_.__~
E. Undor which chapter of the Clwc!c one:
Bankruptc,y Code is tha
debtor fittng? m Cmpter 7
l:! Chapter §

l Ch,apter 11.Cne¢k a.t* mut apply

§ De~btnr‘s aggregate noncontingent liquidath debts [a)-:ctu'ding debts owed to insiders or amiates] are
less than $ZuESS,OSD(amount suhiuct to adjustment on 4101?19 and every 3 years after that;v.

t'_`l me debtor ts a smatl business debtor as defamed in it U.S.C. § 101{5':0). lfthe debtor is a sma!t
business debtur. attach the most recent nuisance aheet. statement of cperaticms. cash-tm statemenL
and federal incan tax tatum or ti all ct these documents do not anst. tatum ma procedure in 11
U.S.C`, § tt't€(t}{$).

A plan is being fued with this petition

Acc¢:ptm\ces of the plan we:e solicited prepetition tx'um ama or more classe:-a of cceditcrs. in
accordance with Tt U.S.C. § 1128(!:1).

L'_`.i ?he demos is mqui¢cct to me periodic reports (foz example. 1014 and 1001 with me Securities and
Exchang<e Commission acwdéng to § 13 or 15[d} of me Secu.ftttes Exchunge Act of 1934. Fite the
attachment to Voruntary Petd‘ic)n fof Nnn~!nd{victua!s Ff.thg for Bankrupf¢:y under C¢‘ra,nte.' 11 {foictat
Form 201.¢.] w%t?w fuels form

[`_'f The debto: is a shell company as de§ned in the Sacun'ties Exchsnge Act 01 3934 Rute 12©-2.

[3[]

{;? Ctzapter 12

 

 

 

 

9. Were prior bankruptcy - NG_
cases filed by or against ma
debtor within mo last 8 [,] Yeg,
years?

|f more than 2 cases, attach a

separate i'g$(_ Dt$iftc% When Cas£t tamm her

W.

Distrtct When Cuse number `

10. Are any bankruptcy cases g m

 

pending ar being ftth by a
business par!m'»r or an C] Yes.
afftttato of the debtor?
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attach a separate tlst nebin Rela€wnshv;)
Dia!n`ct 7 y _ When M Casa numt)e:. if known _____________W

 

Omciat me 201 Voluntary Potttlon for Non»tndiv¥duals Fi|ing for Bankruptcy page 2

Case 1-18-43983-nh|

D&*»W 552 O\rlngton LLC

ermn

11. Why is the case filed in
this distrlc:?

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Ca$c number (il'll'r.~;llm)

 

fian all zllar a;>,ol},':

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preceding the dale of lhls petition or fm a longer past of such ‘§80 days mall in any miller dislrir,l.

[;5 A ballkruptcy case concerning ceblo:‘a alliiiale. gemini pursue-lx m pamelath is penc$ing in lhls dl$lricl.

 

 

12, Duas the debtor own or § NQ
have possession of any . l z . . _
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property that needs
immediate attamiorl? why does the property need immediate allentll:ln? {Clleclc al' mar apply,]

m il poses or le alleged lo pose a lhleal 05 lmmirlerll and identifiable hamm to pu€)llc health or safely

Whal is the hazard?

 

53 il naads lo be physically seeur&»c or paulecléd from ills wealher.

fl ll includes perishable goods or assals lhal could quickly deles:lul’aie or lose value william zllenilm {ior exalmpla
livestock seasmal goods. mezl, dairy, produw. or seculillas-relale<l assets or clth optional

lIl Olner

 

Wi\ere is llle properly?

 

Number. Slreel. Cily, Slate ll ZlP Gode

is the property losured?
ij No

L'.J Yl;$, insurance agency

 

Corllacl name

 

Pllone

 

 

- Statistll:al and administrative information

13, Deblor‘s estimation of C!le'::ic ona;

available funds
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m flle any adnllnlslrall\llz expenses am pald. no funds will be available 10 msecure<§ cledilcss`

 

 

14. Esllmallld number of g 143 l;'i l,ll<)o-s.ouo ill zs.oul»so.lzna
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page 3

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WARNiNG - Bankruplcy fraud is a serious crime. visiting a false stalemaril in conltoclion wlth a bankruptcy case carl insult in fines up lo SSG0.0G'ZJ or imprisonmeol
lor up to 20 yaars. or bolil_ 18 U.S,C. §§ 552. 1341, lSiB. and 35?'\»,

17, Declaration ami signature
of authorized Ttla debtor requests relief in accordance wilh tile ohapla.r of lil:§a ‘il. Urlltod Slaies Code. spociliad ill lois pelilion.
representative of debtor
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l have examined tile informaqu in this oellliorl and have a reasonable belief that tile iniollllallon is lulled acid oul¢ol‘,l.
l docialo under penally of perjury thai tile lol'egoing is ime land normal

Exe<:ulad cm

 

‘~' Tim Ziss
Slgnaltée'o'i”aulha§ad representme or debtor Prlnleo name

 

rlllo Ma now Member

 

X M male duly ll, 2018

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Kovin J. Naah
F'rlnled name

‘lB. Slgnalure of attorney

 

Goldberg Weprin Finkel Golclsieln LLP
Fiml name

1501 Elroal:lway 22nd Floor
l~iew Yorlc, NY 10036
N<.lmber, Slwol, Clty, Slale & ZiP Codl_>

comm phone (212)221-5700 Emaliallorass knash@gwfglaw.com

Kevin J. Nash
Bar number amf vSl;lle

DlFlclai Form 201 Voiuntary Potitlorl for lion-individuals filling for Barll~:mplcy page 4

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UNlTED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

 

ln re: mg X Chapter ll
522 Ovington LLC, Case No.
Debtor.
x
DEBTOR’S DECLARATION

PURSUANT TO LOCAL BANKRUPTCY RULE 1007-4

STATE OF NEW Y()RK )
COUNTY or KINGS g SS‘:

Tim Ziss declares the following under penalties of perjury pursuant to 28 U.S.C. §'
1746:

l. l am the sole member and manager of 522 Ovington LLC (the “Debtor”).
l submit this Declaration in accordance with Local Bankruptcy Rule 1007~4 in support of the
Debtor’s filing of a voluntary petition under Chapter ll of the Bankruptcy Code.

Events Leading to the Chapter 11 Filing

2. Thc chtor is the owner of certain vacant land located at 552 Ovington
Avcnue, Brooklyn, NY (the “Property”), which it acquired in 2016 following a foreclosure sale
from the foreclosing third mortgagee, known as Congregation lmrei Yehuday (the “Third
l\/lortgagce”).

3. At the time of the foreclosure, the Property was also subject to prior
mortgages held by cheral National Mottgagc Association or its Succcssor, Grcen Trce Servicing
LLC (“Green Tree”), and Fairmont Funding LLC (“Fairmont”). While the Debtor received a

deed to the Property from the Third l\/lortgagee against grantor’s acts, may have cut off the rights

of the senior creditors

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4. A foreclosure action was commenced in the Supreme Court, Kings
County, by the first mortgagee in 201 O. Green Tree obtained a judgment of foreclosure and sale
on January 30, 2018, and has scheduled a sale of the Property for July 12, 2018.

5. According to the judgment, the amount owed to Green Tree is
$587,668.44. Upon information and belief, the principal amount of the second mortgage claim
held by Fairmont is approximately $194,157.03. Tlie fair market value of the Property still needs
to be determined, but the situation is worth attempting to restructure

6. Accordingly, the Debtor is filing this Chapter ll petition to stay the
foreclosure sale.

7. The Debtor has already invested substantial time, money and effort in
connection with the Property, and believes that the senior lenders may be amenable to discounted
pay-offs.

Assets and Capital Structure

8. Pursuant to Bankruptcy Rule 1007(d), a list containing the names and
addresses of the Debtor’s current creditors is attached to the Petition. The Debtor has two secured
creditors as noted above, and its pre-petition debt largely consists of loans to an affiliate of the
Debtor for the acquisitions costs, as Well as less than $4,000 in disputed claims held by the City of
New York for alleged ECB violations, real estate taxes and Depaitment of Building charges

9. The Property is approximately 5,()()0 square feet of vacant land, generating
no income. The Debtor also maintains a checking account with a minimal balance at Capital One
Bank.

lO. The Debtor’s books and records are maintained through at the offices of the

undersigned

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lZ. ’t“`here are no employees, and t do riot take a salary 1 do nut anticipate any
expenses during the first 30 days of the casc.

Dated: 'New York, N'ew York
3 nly l i , 2018

522 Ovington LLC

By: %

Namc: '{`im 'Ziss
't`itle: Mariaging Mernbei‘

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UNH`BD S`l"A'i,/`BS BANKRUPTCY COUR'£`
EASTERN DISTRICT O£"` Nl;`W YORK
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In rc: Cliapter l i
552 Ovington LLC, Case N,o.
chtoi‘.
m -~-~-~»x

 

LIMITED LIABH..»ITY CGMPANY RESOLUTIUN
At a special meeting ol`mcaibcrs of 552 Ovington LLC fdic “Company") heid on

July l l, 2013 and upon the tutaniinous consent of the members alter motion duly made and carried

it was:

RESOLVED, that the Company is authorized to execute and file a
bankruptcy petition under Chapter tt of the Unitcd States
Banl<ruptcy Code and to cause the prosecution thereof_; and it is
further

RESOLVED, that the Company is authorized to retain the law
iirm of GOLDBE.RG WEPRIN l,"'l‘NKEL GOLDSTEIN LLP, as
baiilu“uptcy counsel for the purpose of filing and prosecuting the
Chapter ll petition on its behalf

Dated: New York, New "1’01‘¥<
Jnly §l, ZGl$

552 OVington l',t,C

Name: Tirn Ziss
'i`itlc: Managiiig ?~."Iembei'

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UNITED S'I`A"f` 133 BANKRUP’[`(_'?Y COURT
EAS'J`ERN DlS'I`R.lC'l` ()l" NEW YOR_K,

ln re: Chaptcr ll
552 Ovington LLC, Case No.

Debtor.

 

RULE '§".1 CORP()RATE OWNERSH!P S'l`A'l`EMENT

Pnrsuant to l"`ederal little of C,ivil Procedurc 7.}, 437 88 LLC certilies that
it is a private nongovernmental party, and has no corporate parcnt, affiliates andrew
subsidiaries which are publicly heldl

Datecl: New York, New Yorl<
lilly ll, 20l3

552 Ovington LLC

 

By:

Name: ”l`im Ziss
Title: Ivtanaging Mcmber

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UNITED S'l"A‘l`l."iS BANKRUPTC'\’ COI_;’R"!"
l§ASTERN DISTRICT OF l\ll`:`.W YORK
~~-~ -x
fn re: Chaptcr ll

 

552 Ovington lal,(l, Caso No.
Del)tor_

,"..,........--___--__---__- ______________________________________ k

LIST OF EOU!TY HOLI)ERS

Tirn Zisi~; 100%

Dated: New Yorl~'._. New York
lilly ll, 20l8

552 Ovington LLC

By; z

Name; Tim Ziss
'I`itlc: i‘vlanaging Member

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UNl’l`li`D S'l`A'l`ES BANKRUPTCY CGURT
EASTERN DIS"l"RlCT Ol? NEW YORK

 

 

 

 

 

 

 

 

 

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ln re: Chapter ll

552 Ovington Ll,.C, (§ase No.
l`Jel)tOr,

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v. Abderrahma Oul<l-Khattri A!'l(j`A Abderralima Oul(l~l<haitri, Mousa Khalil,
Congregation lmrei Yehudali, I\"iortgagc lilectronic Registrzition Systems, inc., l"airmont
l"imding, L'I`D., Margaret Ziede , l\lew York State Department of'l`axation and lilliancc,
New Yoi'k City Environmental Control Board, New Yorl~: City Transit Adj udicatioa
Bureau, Peoplc of the State of New York

lnde>c No. 1009f20l 0 Supremc Court, Kings County

Dated: New York, New ank
.lul§,¢ l l, 2013

552 owinng itc

Bt~’f %

Name: "i`im Ziss
Titlc: lvlanaging l\/lember

 

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Debtor name 552 Ovlngton LLC
Unlfed Slafes Bankrualcr Courl for lhe: alerer ols'ralc'r or uaw i;l check if this ls an

YORK, BROQKLYN DlVlSlON
Case number {lf knowrl): amended lilan

 

 

 

Offlclal Fotm 204
Chapter 11 or Chaptor 9 Cases: Llst of Creditors Who l-lave the 20 Largest Unsecured Claims and
Are Not lnslciers wis

A list of creditors holding the 20 largest unsecured clalms must be filed in a Chapter ll or Chapter 9 case. lnclucte clalms which
the debtor disputes. Do not include claims by any person or enllty who is an insldor, as defined in 11 U.S.C. § 101{31). Also, do
not include clalms by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured olalms.

 

mma of creditor and Name. telephone number torture of olalm lndlcale if claim kmouhl ofclalm

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aemlcos_ and government disputed value 05 collateral or setoff lo calculate measured clslrn.

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l partially secured of collateral or setoff
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le.

1 333 60th St Fl 2
Brooklyn, NY

1 12196019
Greon Tree Mortgage loan Unliqulda.ted $SBT,GS&M unknown $587,68 8.4»4
Servlclng LLC

cfc Dltecl’l Flnanclal
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Cl'llca_qo, lL 60656
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Gpomtlone

PO Box 7346
Phlladelpl\la, PA
'l 91 01-7346

NYC Dcp't of Taxos $1.455.28
Finance

Legal Affalrs

345 Adama St Fl 3
Brooklyn, NY

1 1201 -371 9

N¥C Dopt of Polential Dlsputecl $1,500.00
Bullcllngs violations
120»55 Queens Blvd
Jamaica. NY 11424
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Control Board violations
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New Vork, NY
10038'3772

NYC Water Unllquldatod $0.00
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Flushlng, NY y
’l 1 373-51 88

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

lellclal form 204 Chaple: 11 or Chaplor 9 sz:s: l.$al of Credllors W?lo Have tim 20 L::rges€ Uslsz~cured claims page t

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D°bf°f 552 Ovington LLC y j
Namn
flame of creditor and Name, telephone number Natura of claim indicate ll claim Amcrunl olcinlm
complete mailing address. and small address of (l<>r example trade daniels is conlingcnl, ll lite claim is lilly unsecure~:l.‘ rlll in only unsecured cléz'm numqu ll
including zip code trcdllor contact bank loena. pv!aasonal unliquidalod, or claim 55 pnrline'; secur§:f. Ei§ in trial claim amount ami deduction for
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BankruptcyISpecial
Procedure
PO Box 5300
Albany, l»lY
1 2205-0300
Steven Cohn, Professlonal Unllqulclated $0.00
Rofe,ree services
16 Court St
Elmuklyn, NY
‘l 1241-0102
Ulllclet form 264 Ch:lplez 11 cr Chsplez 9 Ceees: usa cl Cre'$lors Who l-lwe ma 20 Larnest Unsacur¢d claims page 2

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Debi<)r l‘¢ame 552 ovington LLC

 

Unifad S!ates Ban%;mplcy Courl ¥nr mar E.F\ST¥£RN D|STRZCT OF NEW YGRK, BROOKLYN GNZSION

Case number(is anw»n)

 

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amemied wing

 

qual Form 202
Dec£aration hinder Pena!ty of F*erjury for Non-lndiv§dua| Debtors mm

An individual who is authorized to act on behalf of a oon-Im:llvidua! debtor, such as a corporation ar partnershlp. must sign and submltlhis farm
fcrthe schedu§es of wmata and llabiiities. any mhor documsnt that requires a declaration that is nut inc!udad in the document, and any
amendments of those documen¢s. Th!s form must state the lndlviduai‘s position or relationship 10 mo damon mo |donli£y of tim ducumen¢_. and
the dam Bankrupfcy Rufes 1008 and 9011.

WARN!NG - Bankmplcy fraud is a serious crime. Maklng a wise statement conceding property or obtaining money or property by fraud in
connection with a bankruptcy case can reaqu in ¥ines up to $600,0£\0 or imprisonment for up to 20 yoars. or both. 18 v.S.C. §§ 152, 1341,1519,

and 3571.

- Da»claration and signature

l am the pzesiderat, another of??cer‘ or an authorized agent of the corporaticn; a member cr an aldhmized agent 03 the partnership; cr another individual
serving as a represen!aiive of the deb;'or in this cas-z.

 

l have examined the information in me ducumenis chec¥.ed below and l have a reasonab!e beam that me informat¢c»n is true and comm

Schedu!e A/H: Asseis-Qaa! and Perscnaf Pm-,oeny{(}mc§a§ Form ZGBNB}
Schedu!s D.' C/edf\‘ors Who Have CJaJms S¢m.'red by Prr:pa:iy(OHiciat Form 206[`3)
Schadu#e E/F: Credr`rafs Who wave Unsecumd C!ms (Ol‘Ecia§ me ZOSE!F]
Sc:hedu.‘e G.' Eresm‘ary Contracts and Unexp~i!ed Leeses£Omeiai Fn¢m 203{3)
Schedu.ie H.' Cco‘e\':fars {Of)'icial Form 2&5§‘{)

S¢¢mmary ofAsse!s and Lo?a»u£<v¢%es for Nm)~!ndhudua{s (Off?da: Form 206$L1m)

Amended Scheo'u!e
Chapfer H or Chapter 9 C€sss~s: L`s! cf Gredi\'ars Who Ha ve the 20 wrgas! Unsecureo’ C)‘a§'ns end me N ‘ msi:fz:~rs (O£F:ciai Furrn 204)

 

UE{]IIHIII

0~1hef documen€ that requires a declaration

 

   
 

l dec¥are under penalty of perjury thai the foregan is true and ccrrecx.

Execu!ed 09 duly 11, 2018 X M ` ,
Signal individual signing on behali uf debtor

Tim lies
Pr?n:ad name

 

Mana§i_qg Member
Pos|!ion or re!attonship to debtor

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’i'rs`;in:t.n§j ,_
Deblorname 552 Oving_t_QH LLC

Ulli"lelj Siéias Barlintupicy Cnur’i for ihe’. EAS"¥ERN DXSYRICT OF NE\N YORK. BROOKLYN DW|S!ON

Case numbar(il kilo/rml 4
i_“_i Checic il this is an
amended €iiing

 

 

C'ii‘lcia| Fot'm 206!-\/|3
Scheciuie AiB: Assets - Reai and Personai Property wis

Disciosa ali property real and personam which tim debtor owns cr in which the debtor has any other iegai, oquiiabir>, or future interest1 include
ali property in which the debtor holds rights and powan exercisable for the debtor‘s own benefit Aiso include assets and properties which have
no book valua, such as iuily depreciated assets ar assets thatwara not capitalized in Sci\adule NB. list any executory contracts or unexpired
leases. Aiso list them on Schaduie G: Exocutory Comracis and Unexpired Lemses {Otiiclal Form 2066}.

ages addad. write tim

Be as complete and accurate as possible. if more space is needed. attach a separate sheet to this form. At fha top of any p
ias. ii an additional

debtors name and case number (if knowni. Aiso identify the form and line number to which the additionai iniormal.ion april
sheet is attacimd_. include the amounts from tim attachmnr\t in the total for the pertinent part

For Part 1 through Fart l 1, list each asset under tim appropriate category cr attach separate supporting schedules, such as a listed asset
schedule cr depreciation schoduie, that gives the details for each asset in a particular category List each asset only nnco. in valuing the
debtor‘s interest. do not deduct the value of secured cia£ms. Sae the instructions to understand the terms used in this form

Cash and cash equivalents
l. Does the debtor have any cash or cash equivalents?

ij No. Go to Part_ 2_

l Yes Fm in me information nom
Aii cash or cash equivalents owned or controlled by the debtor Currcnl; value of
debtors interest

3. C§llecking, savings. money maritat. or financial brokarago accounts ¢`ldenlt?'y a.l!_,l

blame of institution {bank or brokerage iim\l Typ»si of account Lesl 4 digits of account

fillinbe

3,1n Capiiai One Banit Checicing 2671 $lG0.00

4. Cl'fhor cash equivalents (io’enfify ali)'

 

5. Total cf Fart 1. $100.00

i\cid lines 2 thrcugh 4 (inciuding amounts on atty additional sheals). Copy the total to line 80.

 

 

 

ongosits and Pmpayments
B. Does the debtor have any deposits or prepayments?

l Nn. 60 in Paii 3.
[] lies Fifl in tile information below

Accounis receivable
10. Does ina debtor have any accounts roceivabie?

_ Nu. Go to Pari 4.
m Yes Fill in the information taniow.

investments
ial was the debtor own any investmenta?

l No. 60 la Patt 5.
E] Yes. Fiii in lite nitormaiion beinw.
Officiai Furm EGGNB Schedule AIB Assets - Reai and Perso:tai Property page 1

Scitware Co;iy:iqm lc] 2018€:*1130.:;) ' vww,circompass,_ccm

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Deblor 552 Ovi_rr_glon LLC C.':rse number rr.'r.~;arr-nr § y
blame

lnvc~mory, excluding agriculture assets
18. moss the debtor own any inventory (exc!vdin§ agriculture assota)?

n No» Go to Parr€.
l:] Yes Filé in the informal§~on heluw.

     

 

93d 6§ ' ;( Fra rmlng and fishing-related assures {other than filled motor vehicles arm land)
2?'. ncaa the debtor own or lease any farming and fishing-related assets luther man filled motor veblclas and land)?

l Nr)l GG 10 Parl ?.
l:} Yee. l~'lll hr the infarmariun below

  

‘il?arl,?: > jj offlcc fumllure, lixtures, aan equipment and collacfib!es
35. Dr)es the debtor own or lease any office lurnlrure, flxlurea, equ|pmanr, or cousclll)les?

l No, Go to Parr 8.
U Ves Flll in the information belnw.

    

:Pa§`t'B:r f Machinery,equipment, arm vehicles

46. Daoé the debtor own or lease any machinery, equlpmant. or vehlclos?

l No. Gn 10 F'arl 9.
ij Yes~ Flll in ihe lnformarion belcw.

Rr)al proporty
§4_ Does the debtor own or mass any real property?

[] N<:r. 60 to Far£ 10‘
"Ies Frll rn me information below

55. Any bulldlng, other lmprovad real esrare, or land which me debtor owns cr ln whlclr the debtor has an interest
mescrlprion and location of Nature and extent Net book value of Valuation method used Curram value of
mcgarry of dehtor‘s debtor‘s lnterest for currch value debtors interest
lnclude elmer address or o%h».:»r Imerest m {Wilere availab|e}
description such as Asses$or property

Parc.el Numrrer (APN). and rype of

property {for examplet acreage

factory ware§rwse. ap;rrtmenl cr

oll§ce b'ui%rling. if malleable

551 552 Ovlngton Ave,
Brocrklyn. l~lY

1 1209-1702 unknown unknown

 

 

56. Tcral of Part 9. $O.GB

Add the current value on lines 55.1 through 55.6 ami andrea from any addilional shsals.
Copy the total to line 88.

 

 

 

57. ls a depreciation schedule avallabla for any m' the property listed lrr Parr S?
n No
m ‘(es
58. Has any of the property listed lr\ Fart 9 been appralsad by a profoasiana| wl!hln the last year?

l No
U`!es

Omcéal Form ZOBA'B S<;hedule NB Assels - Real and Persona| Prcperty page 2

Sor'twaya Cc;/¢n‘ghlr;c) Zoll?rcll’\mr.~p 1 ww~§r:mcomprars_c=.m

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Oebtr)r 552 Ovlngton LLC Case number rr.mn¢.wqr

Name

  

15$110 4 , |r\rangll)lea and lntellectrzal property
5g1 Doos the debtor have any interests in intangibles or intellectual proper!y?

l Nr». com Pan 11.
l:] \'Es F$ll in the én¥ormallun below

    

Fir.fl"`li.§ b Al! other assals

70. Doas la debror own any other assets lhat have not yet bean reported orr mrs lorm?
lzlclrlde all lrrleresls ln execulory mnlracla and una)q)ired leases not previously reported on this lo!m.

n No. 60 10 Parl12.
ljl res r=rrs rn me rnrmmalr¢m harm

Offlclal Form ZOSAIB Schedu|e NB Assels - Real and Persunal Prr)perry page 3

Sc»twaro &)z.'yns'rl (r.§ wis 131er ~ w.w.cm::n:paaa.ccm

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lilebtoze 552 owington LLC szse number mmr/nl
blame

 

f Summary

ln Part 12 copy all of the totals irqm mo eadigr parts of mo form

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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,_ > personal property property
804 Cash, cash squ!vaioms, and flnannial assais.
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81. Doposlta and prepaymon!s. Copy line Q, Part 2. _ 50_05
82, Acoounts recoivab!e. Co,')yfine 12, Par! 3. S0,0D
83, hwestmants‘ Gcgoy line 17, Paré 4. ~_MW $B.OU
84 lnventory. Copyr'ine 2'3, Pari 5, $G.OQ
65 Farming and fEshlng-relstad assets. Cc;),r))f !éna 33. Parr 6. ` $0,00
Béi. 5 forr>ra furniture, flxturss, and equlpment; and collactlbfes. 00
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EVl'. Mar:hin:rry. equipment, and von¥clos, Cnpy!ine 51, sum 8, $0*00
BB. Roa| property Ccpy fmc 55, Par€ 9 P' w $O.DU
39. lma,nglbles and lme£lectual pmperty. Co,oy fine 66, Par: 1a $U,(m
90. A!l other assets. Copyl:'na FH, sz 11 + $G.OO
91. Tola!. Add lines BG through 90 fur each coan $100.£]0 + 919. ' $D.UG
92. Total of all property cm Schmlulo A!B. Add lines 913¢9'&=92 $100.00
Of&clal Furm ZUGA/B Scheduie A/B Assets - Real and Personat Property page 4

€-cltwam CW,rrgP'/.t l`c’j 2315 GNS€ol.p ~ ww.v cinwm~sass.com

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F"Mrwmw
552 _Ovington LLC

    

Dal:rlor name

Urlile€l Slales Bankruplcy Cuurl lui U!Gt EASTERN DlSTl`-ZlET OF NEVV’ Y`CRK. BROOKLYN DNlSlON

 

Case number(ir knmr¢n]
[_'_] C¥le\';l< ll this is an

al‘nended l'r§ing

 

Ofllclal FQMZOSD
$chadula D: Credltors Wlm Have Glalms Secu‘rad by Pruperl:y mrs

Be as complain and accurate as pnssiblu.
1. no any creditors have claims secured by debtor‘s propody?
l:l No. Check mls box and submit page 1 ul this lorm lo me courtwllh debtors amax sclrwules. Del)mr has no”rll§ng am to report c»:z lllls form

5 Yes. Fll| ln all of me lnlormali<m below
m Llst Cratlllors ero Have Secured Clalma

2. Llsl lrs a!plralmllcal order all credltors who have sewer cla$ms. §_l a medium has more than amc socumd
clalm. listing creditor aepsra‘.r:l‘,~ for each claim Ammmt of claim mdle of collateral
that supporls this
135 not dmucl lhr; v;.¥:u¢ cla|m

Co!crrnn h Colm"m §

 

 

 

 

 

 

 

 

 

cl caiss&:el
12,1 l l"-'alrmonl Fundlng Ltd. mmer devlor‘§ properly that is suvlu¢l l¢ a llan $194,157.03 unknown
C'€*J"m laws 552 owington Ave. Brool<lyn, NY 11209-1 102
1333 GlJth Sf Fl 2
Bmoklyn, NY 11219-5019
Cmfll%:\'z matlng addresz D¢s¢libt the llai“l
is the smaller an lnslder or relale rlaer
l Nn
C/ecl»lsv's am-§'l amifrzr»s. 31 lrrm-rcr g Yes
ls anyorm also liable on this clalm?
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m Ye:;` Flll rml Sc:h&dlee H: Cedeblom (Offlcial Fc~m ZDGH]
Last 4 dlglts ol‘ ncr/um number
Da> multiple creditors have an As of the pomlon llllng date. the claim is:
lntoms\ in the same properly/7 Cl‘.eck all lhal apply
Cl mr l;l ccmrngem
- Yes. $pedly each cronl!nr, . Urrllquldaled
§rrcludlng this malloran lls relative m mspumd
prlmily,
1. Grean Tree Servlclrrg
LLC
2. Falrmont Fundlng Ltd.
[22 fGreen Tree Serv¥clng LLC annum debtors moneer ibm suble=ll“ iv ll¢r\ $58?.688.44 unknown
C'¢§‘“”"* N°m* 552 Ovington Ave, Brooklyn. l\lY 11209-1702
cio Ditech Financlal
Attn: Payment 9471
(,`hlcago, |L 60656
cremlam mailing address assemble cho llen
Del)t as al'.June 1. 2016
ls the creditor an lnslclnr cr related party?
§ No
firearms small mw;r, ll known [] Ye»;
is auyonn else flame on mls clalm?
Daw debt was incurred g 949
l:'i Ye-s. Flll olrl Schcrdul¢ HJ Cndeblo.'s (Cvlllclal Fcrrm E<B>Sl-l)
Lasl 4 dlg|L'z of account number
Ohiclal Form 2060 Schedule D: Cradltors Who Havo Clalms Secured by Prcrpar‘ly page 1 012

sewage Ccpy.igl':. §c) 2018 Cll~$.`,"ous ~ ‘m\w cancemuaaa.crxn

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fleth 552 Ovlng’con LLC

 

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Dn mulllpla credllm have an
lnmesl in the same property? Chao’~c all that np_z:l';
L_.§ No m {;omlnganl
n Ye»s. Specify cash medllm. s Unli:;¢:i<!:med
including lhls uc<lllc< and ils relative 13 D;$§med
psioslly.
1. Green Tree Serviclng
LLE

2. Falrmom Fundlng Llcl._

ks of the pcutlcm lilan date, the claim ls:

Case number §rwm)

E~. fatal of they dollar amounts from P:xrl 1, Column A, including lhe amounts from lhe Additlonal Fags, if auy. l 77$731,845_47 l

m usc others 10 se seemed we a mm Already uswa an Pml

l.istln alphabetical order any others who must he notified fm a debt already listed in Pa:H. Examples ul vntlllns that may ha listed am collusion agenclés.

assignnes al claims listed abcve. and attorneys lar secured cmdllors.

if no zurth need to notlll¢cl fur the debts llstm:l in Part 1. do not Flll out or submit thla pagr,)

blame and address

, lf addlllonal pages aim needed. copy l_l\ls page.
Gn which line in Part ‘l did you La:.t 4 allng of
enter lqu misled credltor? account number fur
this entity

 

Berkman Henoch et al
Eilieen M. Ryan, Esq.

100 Garden Clty Plaza
Garden Clty, NY 11530

Dllech Financial LLC
Subordination Deparlment
2100 E Elllot Rd Blcig 94. T-316
Te~mpe, AZ 95284-1806

Dllech Flnancial LLC
Atwnllon: 'l'-'l 20

7360 Soulh Kyrene Rd
Tempo, AZ 35234~4583

Lm»e 2.2
l.lnr: , _ 2 .Z

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Offlcial Form 2950 Adc£illonal P‘age oiSchedulo D: Creclilors Who Have Clalms Securcd by Propsrty page 2 olZ

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Uubwr nature 552 Ovlggton LLC

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Ci Ch+zck if this is an

amended filing

 

 

Oiilcial Fc)rm RUS§LE
Schedule EIF: Cre~clitors Who l-iave Unsecurecl Claims mrs

Br) as complete and accurate as possible. usa Pa,ii l fm creditors with PRlORl`l‘Y unsecured claims and F’arl£ for creditors with NGNFR|DRIT¥ unsecured claims,
L.lstthe other party to any executory contracts or unexpired leases met could result ln a cla`mi. hlso list executory contracts nn Sci‘mdulc Ai‘B: Assr:ls - Rnai' and
Pmsunsi! Fmp@r:y(Ol'flcial Form znGA!B] amf on $chsdali) G: Exoc¢.itory Conzracts and Unexplmd Lo.mas(Offlclat Fomi 2066}. Numbar ma entries in l’ari§ 1 and 2
in the boxes on tim lolt. ifQO space is needed for Par‘t‘l or Pm 2, llli out and attach the Addition:rl Pagiz of that Pert included in this tonn.

wrist Aii creditors with moer unsecured alarms

f. Bo any creditors have priority unsecured clalms? lSei: ll tl.S,C. § 50’/).
i“_“] m so m Pan 2_

l ‘(es. Go in line 2.

2. Llsz Iri alphabetical order all creditors who have unsecured claims that alia onlitiad to priority in whole ar iii part ll the debts has more than 3 cr¢:",ii~.~,¢s mm
prioi§l:i' unsecured claims. ill out and attach tim Addéliorial Prigr: oil Parl 1.

 

Total claim Prlurlty amount
F‘rimity credit<'>~!s name and mailing address is cf the pr:lili'ari illing dala, the claim ia: ` $(}10{) $0.0U
internal Revenue Servlce C"'E¢f< fill fth amy
Centralized insolvency Opemtinns 5 wivwa
PO Box ?346 l unliquidated
Phiiaueiphia, pa 19101~7346 g U|B§M
Qalu or dam debt was incurred Basls lor the dam

Laat 4 digits of account number

Specll'y Cude subsection ot PRlORlTY
unsecured claim il U.S.G` § SG?fa) l§i

F or notl ce purposes only
is the claim subject to uliaat?

- No

m Yez

 

priority crudilcr's name and mailing audress

hs ct the pell£.!on ming dalc‘ lh¢: claim is:

 

N"t‘C Dep't of Finance C'"~’°‘" H‘»'M' M’P‘)"
L.egal Alfalrs iii contingent

345 Adams St F-l 3 ill unilquuai¢:d
Bl'DCikiyl'l, NY 11201~3719 m Dispubz»t£

Daie c>r dates riehl was incurred ) Basls lorthe clairr\:

l,:xsl 4 di¢,}?ls of account num`sar

Spac`ily Code aubmtmn of PRlORiTY
amsth clalm: ll U.S.C. § 50'1'(a)4§_l

Oli'iclsl Fo¢m ZOGB‘F
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For nutlce purposes only
is me claim subject w umw

- ila

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Scliadul'b Er'F: Ct'udilurs Who Havtt Unsecured claims

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Debi€>r 552 Ovi'ngton LLC

Case rrum%)er ~§rmmn)

 

 

lime
i:’rioriiyl c!adiior's name and mailing address
NYS Dep’t of Taxation
Bankrupicyi$pecial Pmceclure
PO Box 5300

Albany, NY 12205»0300

 

Dalu or device dei>! was incurred

Lasl 4 digiis of account number

Sr:ec:£y Codo subsecféc>n or PR$GR|TY
unsecured ciaim: ii U.S.C. § SD?ia] {§’l

ns ar nw peril-m ming dam me claim ie; $0_00 $U,DO
Ciir!c:k ali ih§l apply
§§ Conllnger§

- Ur!iquidataci

“ Dlspuicd

assis for ina claim:

Far notice purposes only
is inn c@a£rn sw§~eci 10 offsm?

z No

m `{ea

 

   

Péil’t 12: "

cmi and winch ina Addiilnna| P:vge of pari 2.

i~ionprionty creditors name and mailing address
325 N. Broaciway LLC

9322 3rd Ave Sie 502
Brooklyn, NY 11209~6802
Datu{s] debt was incurrmi w

Last 4 digits of account number _

. _ 1 l.lsi Aii Creditors with NONPR!ORlTY Unsecured Cla§ms
3. Lisi in alphabetical order all of tim creditors with nonpriorlt‘; unsecured claims if inn curiam has inure man 8 cleaners nizh nonprimi!y unnamed dalm$, fill

Amcun% uf claim

ns cline petition filing dazr:, the claim csc cnmi sum apply §220,,?63.35
ij Conllngenl

U unliqi.»;d;nw

a Disguie~:i

Easis For tim ciaim:*

i$ iii€e rislm suuieci in uticai'? No l:l ‘1'(92

 

Nonpriority creditors name and mailing address
NVC Dept of Buiidings

120»55 Queuns Blvd
..iamalc.:a, NY 1 1424

Daio[s} debt was incurred m
Lusi 4 digits of account number w

Nonpriorlxy creditors name and mailing address

' NYC Envlronmental Coniroi Board
66 John St Fi 10
New Yori<, N‘i' 10038»3772
Daw(s) debt was incurred _
l..ast 4 digits of discount number _

ns of ihe~ petition filing dam 1210 claim is: CJ»:=»< munoz again $1,50[}.00
m Coniingon‘i

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Basls for the cia}m:

§§ ihs claim aub,ieci lo uh'sz:’i? w rio i;] `r'cs

ns umw pension ming daio, nw claim isc c.»,¢~.~r;w.-n¢¢ amy $1!000.00

m Coniinn=nnl
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wasn rm me maxim F or notice gurgoses only
is line claim subject le nliael'i l rio 5 lies

 

Nonprloriiy creditors name and mailing animus
NYC Water

5917 Junction Blvd
Flushlng, NY 11 373~5188

mlnls] debt was lncurmrx __
Last 4 digits cfaccuunt number M

[::>:5__:] Nonprioniy malean name and mailing address
Steven Cnhn, Referee

16 Court St
Brookiyn, N‘f 1 1241 -0102

Data[sl debt was incurred __
Lust 4 digiis uf account number _,

ks crim pontiac ming datu. tim claim is: anew ulmer saw $0.00
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Basis for the ciairn'. *L§gy;qgg{§§§_purgoses only
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ij claimed

Basis for the ciaim: ___

is me claim sub§eci in offset‘? l No m res

usi others w ne writings Abuut unsecumd claims

Oli'iciai Fcrm 206 E.‘F Sclxadulu ElF: Creditors ‘i‘d‘ho flaws Unaocuro~d Ciaims page 2 of$

Ee‘??.vale Oopyzig’ii (c] 2018 CiiiGmun ~ wa'a’,cincmpnss,com

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Uebtor 552 Ovington LLC Case number ;:‘ana.-~n}
diane
4. hist in alphabetical ordur any ewers who must bc harmed for emma listed in Pacts 1 and 2. Examp!-as of cavities mm may be lie€ed era w:eciiorx agencies, a`aséégncns
ar da|ms Iisied abov=, and a!!onwys fm unsecured credi§ors.

lt no others need w he notified for the debts listed ln Pm$ 1 and 2. do not ml nut ar submit this ngn. H additiona! pages arc needed, copy me mm page

blame and mailing address On which line m Pnrt‘| or Part 2 is ma Last 4 digits of
related arediinr m arm ilwde account nun)b~az‘ if
any

§i§§ad Totz\f A'mnunts of the Prlarity and Nanprior!ty Unsecurod Clalms

5. Add the amounts of priority and nonmarin unsecured cialms.

   

¥o§s¥ of cia\m amounts

 

 

 

 

Ea` Tom cfaims from Part 1 5¢’1- 1,455.28
sb. man mims from P:rc 2 511 '» w 223,253.5§"
E`c. 1`0tal of Pari.s 'i and 2
Li)’\a§ 53 ‘r 5b = 5a 5a s , ___224*?18';6_"3,,_,
OKiciai Forrn 206 E.'F Schedu!e §le firedin Who H:w# Unsocured C!alms Page 3 of 3

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Debiorname 552 Ovington LLC

 

 

Uniied Siais.»s Bankrupicy Cm.rri fur ihe: EASTERN DiSTRiCT GF NEW YORK. BROOKLYN DiV|$iON

 

rCasu number{ii i<nnwm
ij Cr=eck if %his is an
amended iiiirrg

 

Ofiiciai Form 206§
Scheduie G: Executory Contra,cts and Unexpired Leases ms

 

Ee as complete and accurate as po,saibie. if more space is needed, copy and attach the additional page, number the entries curxsacutivaiy.

i. Does the debtor have any executory contracts or unexpired ieases?
g No. Cher,?r ihis box and file this form with the debicr's other sizhe~duies.. The’e is nothing else in report on this iorm_

E] Yes. Fiii in a% of she iniormaiion be$mv even ii the corriacis cr leases are 555-ied on Sz:heduie A/B: Assars » Re~ai and Parssna.‘ Pmperiy(€ifficiai
Form ZUSA!B}.

2. List ali contracts and unexpired leases Staie the name and maiiing address for aii other parties with
whom the debtor has an executory contract or unexpired
lease

21 State what the contract cr
iease is for and tim nature
of the debtors interest

Siate the farm remaining

Lisi the contract number of
any government contract

 

 

2.2 Staie what the contractor
lease is for and the nature
of the debtors interest

Siate the term remaining

List tire contract number of
any government contract

 

 

2.3 Siate what the contractor
lease is for and the nature
of the debtors interest

S€ate the ierm remaining

List the contrac'z number of
amf government Cr)nira<rt

 

 

2.4 Siz:t@ what tim contrast or
iease is for and the nature
of the debtors interest

Siate me term remaining

List ihe contraci number of
any government contract

 

 

Ofiiciai Form 23§<3 Schaduia G: Executory Cuniracis and Unoxpirad wast Page1 of i

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Debtor name 552 (}viqgton LLC

Uniied Siafes Bankrupl'.“.y Cuun for $het EASTERN DlSTRICT OF N§W YORK. BROOKLYN G|VJS|ON

Case numberqis mcmm
[J Check if this is an

amended filirég

 

 

Officia! Form ZOBH
Schedule H: Your Codebtors 12115

Be as complain and accurate as poss¥b!a. if more spa¢:e is naedad. copy the Addi£ionat` Pagc, numbering the simms consecutively Auach the
Add[tiona! Page to this paga.

1. 00 you have any codabton‘z?

l No. Check this ?)ox and submit this form to me court with me deb{or‘.s mher schadu|es» Noihing else needs to he reported nn ¥hi'.s fotm,
U Yea
2. ln Co¢umn 1, list as customers aii uf fha people or entities who am also liabhz for any davis itsth by the debtor in me schedules of crodi¢ors,

Schedulas D-G* include al§ guarantors and co~ob|igo:s. in Cc~iumn 2. kiewiin fha credilm lo whom the debt is owed and each schedu!a on which the
creditor is tisked. |f the codeb!or is tiame on a debt w more than one creditor, list each creditor separately in Co!umn 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Cofumn 1. Cocwbtor' Comnm 25 Cm~d\tur
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whim nam€' 552 Ov€ngton LLC

United 515!93 Bankmpfcy chri fm 1?\9: EASTERN D§STR|C“T GF NEW YORK, BRODKLYN DiVlSZGN

 

Case number(if muwn)
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Officiai Form ZOSSum
Summary of Assets and i.iabilities for Non~individuais 12¢15

 

’ Bummary ofAssets

1\ Schedule A.'B: Asse!s-Real arrd Fersoemf Pfoperty (Ofiicial Fonn Z`UGAJB}

 

 

 

 

 

 

 

 

 

 

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Cu;)y» the total claims from Pad 1 from line 53 oSchedwe E/F, $ 13
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Offrcial Form ZBGSum Summary of Assms and Llabi|ities for Non~ind¥vldua!s PH;B 1

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Unitcd Stales Banl»zrup!cy Court
Eastcrn Districl of Ncw York, Breoklyn D,ivisiml

 

 

!N RE: Casc Nc). ‘ …_____W… .~__
552 Dvington LLC w Chapler 11 _M" ,_¢_ ',___..m,_m
Bebmris)

VERIFICATIGN OF CREDITOR MATRIX

Thc above named debtor(s) or attorney fur the dcbm,r{s} hereby verify ihat the attached matrix (1§51 ot`creditors`} is true and
correct to the best of ihle knowledge

 

Dat»'¢.: duly 11, 2018
‘ ch£m‘

 

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325 N. Broadway hLC
9322 3rd Ave Ste 502
Brookiyn, NY 11209~6802

Berkman Henoch et ai
Eilieen M. Ryan, Esq.
IOG G§rden City Plaza
Garden Ciiy, NY lZSEG

Ditesh Financial LLC
Attention: T~lZD

?360 South Kyr@n@ Rd
Tempe, AZ 85284-4583

Ditech Financ;al LLC
Subordiuation Deparvment

2100 § Elliot Rd Bldq 94, T»BE€
Tempe, AZ 85284~1306

Fairmont Funding Ltd.
1333 60th St Fl 2
Brooklyn, NY 11219-5019

Green Trce Servicing LLC
c/o Ditech ?inancial@ttn: Payment 94?1
Chicaqo, IL 60656

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Internal Revenue Servica
C@ntralized Insolvency Operation$
PO Box TE@G

?hiiadelphia, PA 19101~?346

NYC De§'t of Finance
Legal Affairs

345 Adams St Fl 3
Brooklyn, NY 11201~3719

NYC Dept of Building$
120~55 Queens Blvd
Jamaica, NY 1142é

NYC Environmental Con§r®i Board
66 John §§ Fl 10
New York, NY 10038~3??2

.,-~

NY@ water
5917 Junction glvd
Flushing, NY 11373~5188

NYS Dep*t of Taxation
Bankruptcyf$pecial Procedure
PG Box 5300

Albany, NY 12205~0309

Steven Cohn, Refere@
16 Court St
Brooklyn, NY 11241~0102

